           Case 1:18-cv-07659-KPF
FILED: NEW YORK  C
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
                                                                        x

         LAZAR KHANULCAY,

                                                           Plaintiff,

                                  -against-                                 SUMMONS

         THE CITY OF NEW YORK, DETECTIVE PAUL                               Index No.:
         RIVERA, Tax No. 940050, SERGEANT VISAR MARKU,
         Tax No. 942126, UNDERCOVER POLICE OFFICER                          The Basis of Venue is:
         Shield No. 305, and POUCE OFFICERS JOHN DOES                       Location of Incident
         NUMBERS ONE THROUGH TEN,
                                                                            Plaintiff designates New York
                                                        Defendants.         County as the place of trial.

                                                                        X

         To the above named Defendants:

                  You are hereby summoned to answer the Verified Complaint in this action, and to serve
         a copy   of your Verified Answer to the Verified Complaint, or, if the Verified Complaint is not
          served with this Summons, to serve a notice of appearance on the Plaintiffs attorneys within
         twenty days after the service of this Summons, exclusive of the day of service, where service is
         made by delivery upon you personally within the state, or, within 30 days after completion of
          service where service is made in any other manner. In case of your failure to appear or answer,
         judgment will be taken against you by default for the relief demanded in the complaint.

         DATED: New York, New York
                    Aplil2,2018
                                                             Yours, etc.

                                                                                lsl
                                                             JACOBS & FIAZAN,LLP.
                                                             STUART E. JACOBS, ESQ.
                                                             Attomey for Plaintiff
                                                             30 Vesey Street, 4th Floor
                                                             New York, New York 10007
                                                             (2r2) s77-2690


         TO:        City of New York, Corporation Counsel, 100 Church Street, NY, NY 10007
                    DETECTIVE PAUL RIVERA, Tax No. 940050, Narcotics Borough Manhattan South,
                    One Police Plaza,New York, NIY 10038




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                    SERGEANT VISAR MARKU, Tax No. 942L26, Narcotics Borough Manhattan South,
                    One Police Plaza,New York,   NY   10038
                    UNDERCOVER POLICE OFFICER Shield No. 305, Narcotics Borough Manhattan
                    South, One Police Plaza,New York, NY 10038




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
                                                                    --- x

         LAZAR KHANULCAY,
                                                                               INDEX NO.:
                                                              Plaintiff,
                                                                               VERIFIED COMPLAINT
                                     -against-

         THE CITY OF NEW YORK, DETECTIVE PAUL
         RIVERA, Tax No. 940050, SERGEANT VISAR MARKU,                         JURY TRIAL DEMANDED
         Tax No. 942126, UNDERCOVER POLICE OFFICER
         ShieldNo. 305, and POUCE OFFICERS JOHN DOES
         NUMBERS ONE THROUGH TEN,

                                                         Defendants.

                                                                           X

                 Plaintiff LAZAR KHANULCAY, by his attorneys, Jacobs &Hazan, LLP, as and for his
         Verified Complaint herein, alleges upon information and belief as follows:

                                        PRELIMINARY STATEMENT

                          1. This is a civil rights action to recover money        damages arising out of
         defendants' violation of plaintiff s rights as secured by the Civil Rights Act, 42 U.S.C. Sections
         1983 and 1988, and of rights secured by the Fourth, Fifth and Fourteenth Amendments to the
         United States Constitution. On November 17,20t5, at approximately 9:00 a.m., plaintiff Lazar
         Khanulcay, while lawfully present in the vicinity of West 33'd Street and, Tth Avenue, New York,
         New York, was subject to an unlawful stop, question, frisk, search, strip search, false arrest, and
         false imprisonment by the defendant New York City police officers. Additionally, plaintiff was
         subjected to the use of excessive force by the defendants when they slammed plaintiff against a
         window, causing him to suffer severe injuries to his face and chest. Plaintiff was subjected to
         malicious prosecution and denied the right to due process and a fair trial. All criminal charges
         against plaintiff were dismissed and sealed in their entirety on July 19, 2017. Plaintiff was
         deprived of his constitutional and common law rights when the individual defendants unlawfully
         stopped, questioned, frisked, searched, confined, falsely arrested, maliciously prosecuted, denied
         plaintiff the right to due process and used excessive force against plaintiff in violation of the
         Fourth, Fifth and Fourteenth Amendments to the United States Constitution.

                                                    PARTIES

                          2.   Plaintiff LAZAR KHANULCAY is a resident of the state ofNew York.



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                           3.     DETECTryE PAUL RIVERA, Tax No. 940050, is and was at all times
           relevant herein, an officer, employee, and agent of the New York City Police Department.

                          4. DETECTTVE PAUL RIVERA, Tax No. 940050, was at all times relevant
           herein, assigned to Narcotics Borough Manhattan South.

                           5.  DETECTTVE PAUL RIVERA, Tax No. 940050,                       is being sued in       his
            individual and official capacity.

                           6. SERGEANT          VISAR MARKU, Tax No. 942126, is and was at all times
           relevant herein, an officer, employee, and agent of the New York City Police Department.

                           7.  SERGEANT VISAR MARKU, Tax No. 942126, is and was at all times
           relevant herein, assigned to Narcotics Borough Manhattan South.

                           8.  SERGEANT VISAR MARKIJ, Tax No. 942126,                       is being   sued   in   his
            individual and official capacity.

                           9. UNDERCOVER POLICE OFFICER Shield No. 305 is and was at all times
           relevant herein, an officer, employee, and agent of the New York City Police Department.

                            10.UNDERCOVER POLICE OFFICER Shield No. 305 is and was at all times
            relevant herein, assigned to Narcotics Borough Manhattan South.

                            II.UNDERCOVER POLICE OFFICER Shield No. 305 is being sued in his
            individual and official capacity.

                            12. New York City Police Officers John Does #1-10 are and were at all times
            relevant herein officers, employees, and agents of the New York City Police Department.

                            13. Police Officers John Does   #l-10   are being sued in   their individual and official
            capacities.

                            14. At all times relevant herein, the individual defendants were acting under color
            of state law in the course and scope of their duties and functions as agents, servants, employees
            and officers of the New York City Police Department, and otherwise performed and engaged in
            conduct incidental to the performance of their lawful functions in the course of their duties.
            They were acting for and on behalf of the New York City Police Department at all times relevant
            herein, with the power and authority vested in them as officers, agents and employees of the New
            York City Police Department and incidental to the lawful pursuit of their duties as officers,
            employees and agents of the New York City Police Department.

                          15. Defendant City of New York is a municipal entity created and authorized
            under the  laws of the State of New York. It is authorized by law to maintain a police
            department, which acts as its agent in the area of law enforcement and for which it is ultimately
            responsible. The defendant City of New York assumes the risks incidental to the maintenance of


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            a police force and the employment of police officers as said risks attach to the public consumers
            of the services provided by the New York City Police Department.

                            16.Plaintiff in furtherance of his causes of action brought pursuant to New York
           State law filed a timely Notice of Claim against the CITY OF NEW YORK in compliance with
           the Municipal Law Section 50 and in accordance withNew York State law.

                           17.In accordance with New York State law and General Municipal Law Section
           50, plaintiff testified at a hearing held pursuant to General Municipal Law Section 50-H on
           November 4,2016.

                           18. More than thirty (30) days have elapsed since service of said Notice of Claim
            was filed and THE CITY OF NEW YORK has failed to pay or adjust the claims.

                            19. This action falls within one or more of the exceptions as set forth in CPLR
            Section 1602, involving intentional actions, as well as the defendant, and,/or defendants, having
            acted in reckless disregard for the safety of others, as well as having performed intentional acts.

                             20. Plaintiff has sustained damages in an amount in excess of the jurisdictional
            limits of all the lower Courts of the State of New York.


                                                     STATEMENT OF'F'ACTS

                           2l.On November 17,2015, at approximately 9:00 a.m., plaintiff was lawfully
            present in the vicinity of West 33'd Street and 7th Avenue, New York, New York, when the
            defendant police officers unlawfully stopped, questioned, frisked, and searched plaintiff without
            reasonable suspicion, probable cause, or any legaljustification.

                            22.8y way of background, a few minutes prior to the incident, an individual now
            known to be defendant UNDERCOVER POLICE OFFICER No. 305 attempted to solicit drugs
            from plaintiff and gave him money.

                            23. Notably, plaintiff stated to the defendant police officer several times that he is
            not in possession of any drugs, nor would he provide any drugs or other contraband to defendant
            in any capacity.

                           24.  Plaintiff told UNDERCOVER POLICE OFFICER Shield No. 305 that he
            would not return with any drugs or other contraband, but Undercover Police Officer Shield No.
            305 insisted that plaintiff keep the money any way.

                           25. Plaintiff then walked towards the 34th Street   -   Penn Station Subway Station.

                           26. Suddenly, without provocation or legal justification, the defendants grabbed
            plaintiff from behind and slammed him into a glass window inside the subway station, causing


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         severe pain and injuries to   plaintiff   s chest and the   left side of his face, and stopped, questioned,
         and frisked plaintiff.

                         27.The officers did not recover any illegal drugs, weapons or contraband from
         plaintiff or from his possession, custody, or control.

                         28.   At no time relevant herein did plaintiff commit a crime or violate the law in
         any way.

                        29.At no time did plaintiff act in a physically threatening manner nor did the
         defendant officers have any objective factual basis to believe plaintiff was a physical threat to
         them.

                         30. Nevertheless,   plaintiff was unlawfully arrested and handcuffed by defendant
         officers without legal justification or probable cause.

                         31. The handcuffs placed         on plaintiff were unreasonably tight on plaintiffs
         wrists, causing plaintiff to suffer pain and discomfort.

                        32. Plaintiff told the defendant police officers that the handcuffs were hurting his
         wrists, and asked the defendant police officers to loosen the handcuffs, but the defendant police
         officers ignored plaintiff and failed to loosen the handcuffs.

                          33. The unreasonably       tight handcuffs were the direct and proximate cause of
         the serious injuries to plaintiffls wrists.

                        34. Plaintiff was transported by the defendant police officers to the Manhattan
         Midtown South Precinct against his will, where he was photographed, fingerprinted, search, and
         placed in a holding cell.

                        35. At the precinct, defendants conducted a strip search of plaintiff even though
         they did not recover any weapons, drugs, or contraband from plaintiff during the initial search,
         and had no reason to believe plaintiff was hiding contraband on his person, causing humiliation
         and emotional distress.

                      36. After several hours in custody, plaintiff was transported from the Manhattan
         Midtown South Precinct to New York County Central Booking and placed in a holding cell.

                          37.The defendant police officers provided the District Attorney's Office with the
         false, misleading and/or incomplete information that plaintiff interfered with an arrest and
         resisted arrest, which allegedly led them to believe that plaintiff committed a crime.

                         38. Based upon the false, misleading and/or incomplete information provided to
         the District Attorney's Office by the defendant police officers, a prosecution was initiated against
         plaintiff.

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                         39. On November 18, 2015 at approximately 12:00 a.m., after being unlawfully
         detained for approximately 15 hours, plaintiff was arraigned in New York County Criminal
         Court and charged with crimes he did not commit.

                       40. The officers maliciously and unlawfully charged plaintiff with Petit Larceny
         and Criminal Possession of Stolen Property, without probable cause or legal justification.

                      41. The judge set bail of $1000, which plaintiff was unable to post, and        plaintiff
         was remanded to Riker's Island.

                         42.On November 18,2015, at approximately 11:30 p.m., after 39 hours in
         unlawful custody, plaintiff was able to post bail and was released.

                        43. On November 20, 20L5, still experiencing severe pain in his face, wrists and
         chest, plaintiff went to Coney Island Hospital for treatment of his injuries caused by the
         defendants.

                         44. Ptaintiff was prescribed pain medication and advised to undergo x-rays of his
         chest and CT scan   ofhis   head.

                         4l.Thereafter, plaintiff appeared in Criminal Court on approximately six
         occasions until all charges against plaintiff were dismissed and sealed in their entirety on July 19,
          2016.

                        46. As result of his false arrest and malicious prosecution, plaintiff was forced to
         post bail, which cost plaintiff approximately $500.

                         47. As result of the excessive force used against plaintiff by defendant officers,
         plaintiff suffered severe swelling and bruising to the left side of his face and bruising to his chest
         and wrists.

                        48. Some of the police officer defendants observed the violation of plaintiffs
         rights under the Constitution of the United States and New York State Law and did nothing to
         prevent the unjustifiable search, seizure, false arrest and imprisonment, malicious prosecution,
         excessive force, denial of due process and the right to a fair trial against plaintiff.

                          49. The unlawful search, false arrest, and false imprisonment, denial of a right to
          fair trial, malicious prosecution, and excessive force of plaintiff by the individually named
          defendants caused plaintiff to sustain physical, psychological and emotional trauma.




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                                                 FIRST CAUSE OF ACTION

                           Violation of Plaintiffs Fourth              f,'ourteenth Amendment Rishts

                            50. The plaintiff repeats, reiterates and realleges each and every allegation
            contained in paragraphs marked 1 through 49 with the same force and effect as if more fully set
            forth at length herein.

                          51. The individually named police officer defendants while acting in concert and
            within the scope of their authority, caused plaintiff to be unlawfully stopped, questioned, and
            frisked, unlawfully seized, unlawfully searched, falsely arrested, falsely imprisoned, and
            maliciously prosecuted plaintiff, without reasonable suspicion and/or probable cause, in violation
            of plaintiffs right to be free of an unreasonable seizure under the Fourth Amendment of the
            Constitution of the United States and to be free of a deprivation of liberty under the Fourteenth
            Amendment to the Constitution of the United States.

                             52. As a result of the aforementioned conduct of defendants, plaintiff sustained
            injuries, including  but not limited to physical, emotional, psychological and economic injuries.



                                                SECOND CAUSE OF ACTION

                                             False Arrest and False Imprisonment

                            53. The plaintiff repeats, reiterates and realleges each and every allegation
            contained in paragraphs marked I through 52 with the same force and effect as if more fully set
            forth at length herein.

                            54. The acts and conduct of the defendants constitute false arrest and false
            imprisonment under the laws of the State of New York. Defendants intended to confine plaintiff
            and, in fact, confined plaintiff, and plaintiff was conscious of the confinement. In addition,
            plaintiff did not consent to the confinement and the confinement was not otherwise privileged.

                            55. As a direct and proximate result of such acts, defendants deprived plaintiff   of
            his rights under the laws of the State of New York and the United States Constitution.

                           56. Defendants were at all times agents, servants, and employees acting within the
            scope of their employment by the City of New York and the New York City Police Department,
            which are therefore responsible for their conduct.

                         57. The City, as the employer of the officer defendants, is responsible for their
            wrongdoing under the doctrine of respondeat superior.

                             58. As a result of the aforementioned conduct of defendants, plaintiff sustained
            injuries, including but not limited to physical, economic, emotional and psychological injuries

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                                                  THIRD CAUSE OF ACTION

                                              Unlawful Stop. Ouestion. and Frisk
                         59. The plaintiff repeats, reiterates and realleges each and every allegation
         contained in paragraphs marked I through 59 with the same force and effect as if more fully set
         forth at length herein.

                      60. The illegal approach, pursuit, stop, questioning and frisk employed by
         defendants herein terminated plaintiffs freedom of movement through means intentionally
         applied.

                         61. The conduct of defendants in stopping, frisking, and searching plaintiff were
         performed under color of law and without any reasonable suspicion of criminality or other
         constitutionally required grounds.

                         62. As a direct and proximate result of such acts, defendants deprived plaintiff    of
         his rights under the laws of the State of New York.

                        63. Defendants were at all times agents, servants, and employees acting within the
         scope of their employment by the City of New York and the New York City Police Department,
         which are therefore responsible for their conduct.

                      64. The City, as the employer of the officer defendants, is responsible for their
         wrongdoing under the doctrine of respondeat superior.

                          65.   As a result of the aforementioned conduct of defendants, plaintiff sustained
          injuries, including but not limited to physical, economic, emotional and psychological injuries.


                                                FOURTH CAUSE OF'ACTION

                                                          Unlawful Search

                          66. The plaintiff repeats, reiterates and realleges each and every allegation
          contained in paragraphs marked I through 65 with the same force and effect as if more fully set
          forth at length herein.

                         67.The illegal approach, pursuit, stop and search employed by defendants herein
          terminated plaintiff s freedom of movement through means intentionally applied.

                          68. Defendants lacked probable cause to search plaintiff.

                          69. As a direct and proximate result of such acts, defendants deprived plaintiff   of
          his rights under the laws of the State ofNew York.


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                          70. Defendants were at all times agents, servants, and employees acting within the
           scope of their employment by the City of New York and the New York City Police Department,
           which are therefore responsible for their conduct.

                        71. The City, as the employer of the officer defendants, is responsible for their
           wrongdoing under the doctrine of respondeat superior.

                             72. As a result of the aforementioned conduct of defendants, plaintiff sustained
            injuries, including but not limited to emotional and psychological injuries.



                                                  F'IFTH CAUSE OF' ACTION

                                                      Malicious Prosecution

                            73. The plaintiff repeats, reiterates and realleges each and every allegation
            contained in paragraphs marked I through 72 with the same force and effect as if more fully set
            forth at length herein.

                            74.The acts and conduct of the defendants constitute malicious prosecution under
            the laws of the United States Constitution, State of New York andNew York State common law.

                           75. Defendants commenced and continued a criminal proceeding against plaintiff.

                         76. There was actual malice and an absence of probable cause for the criminal
           proceeding against plaintiff and for each of the charges for which he was prosecuted.

                           77.The prosecution and criminal proceedings terminated in plaintiffs favor on
            the aforementioned date.

                           78. Plaintiff was subjected to a post-arraignment deprivation of liberty sufficient
            to implicate plaintiff s Fourth Amendment rights.

                           79. Defendants were at all times agents, servants, and employees acting within the
            scope of their employment by the City of New York and the New York City Police Department,
            which are therefore responsible for their conduct.

                         80. The City, as the employer of the officer defendants, is responsible for their
            wrongdoing under the doctrine of respondeat superior.

                             81. As a result of the aforementioned conduct of defendants, plaintiff sustained
            injuries, including but not limited to emotional and psychological injuries.




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                                               SIXTH CAUSE OF ACTION

                              Violation of Plaintiff's Fourth And Fourteenth Amendment
                                                          Rishts

                         82. The plaintiff repeats, reiterates and realleges each and every allegation
         contained in paragraphs marked 1 through 81 with the same force and effect as if more fully set
         forth at length herein.

                          The use of excessive force by defendants by slamming plaintiff into a
                        83.
         window, handcuffing plaintiff in an excessively tight and painful manner, and by using
         unreasonable force throughout the course of plaintiffs arrest is an objectively unreasonable
         physical seizure of plaintiff in violation of his rights under the Fourth and Fourteenth
         Amendments to the Constitution of the United States and to be free of a deprivation of liberty
         under the Fourteenth Amendment to the Constitution of the United States.

                        84. Defendants were at all times agents, servants, and employees acting within the
         scope of his employment by the City of New York and the New York City Police Department,
         which are therefore responsible for his conduct.

                          85. As a result of the aforementioned conduct of defendants, plaintiff sustained
         injuries, including but not limited to physical, emotional, psychological and economic injuries.

                                            SEVENTH CAUSE OF' ACTION

                                        Denial of Rieht to F'air Trial/Due Process

                        86.The plaintiff repeats, reiterates and realleges each and every allegation
         contained in paragraphs marked I through 85 with the same force and effect as if more fully set
         forth at length herein

                        87. Defendants, individually and collectively, manufactured and./or withheld false
         evidence and forwarded this false evidence to prosecutors in the New York County District
         Attorney's Office.

                         88. Defendants filled out false and misleading police reports and forwarded them
         to prosecutors in the New York County District Attorney's Office.

                        89. Defendants   signed false and misleading criminal court affidavits and
         forwarded them to prosecutors in the New York County District Attorney's Office.

                         90. In withholdinglcreating false evidence against plaintiff Lazar Khanulcay, and
         in  providing/withholding    information with respect thereto, defendants violated plaintiffs
         constitutional right to due process and fair trial under the New York State Constitution and under
         the Due Process Clause of the Fifth Amendment to the Constitution of the United States and to


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           be free to deprivation of liberty under the Fourteenth Amendment to the United                   States
            Constitution.

                            91. As a result of the foregoing, plaintiff Lazar Khanulcay, sustained, inter alia,
            loss of the right to due process and a fair trial, loss of liberty, emotional distress, embarrassment
            and humiliation, lost earnings and deprivation of his.constitutional rights.

                           92. Defendants were at all times agents, servants, and employees acting within the
            scope of their employment by the City of New York and the New York City Police Department,
            which are therefore responsible for their conduct.

                         93. The City, as the employer of the officer defendants, is responsible          for their
            wrongdoing under the doctrine of respondeat superior.

                            94. As a result of the aforementioned conduct of defendants, plaintiff sustained
            injuries, including but not limited to emotional and psychological injuries.

                                           EIGHTH CAUSE OF'ACTION

                                                Unlawful Strip Search

                            95. The plaintiff repeats, reiterates and realleges each and every allegation
            contained in paragraphs marked 1 through 94 with the same force and effect as if more fully set
            forth at length herein.

                           96. Plaintiff was strip-searched          bydefendants without an individualized
            reasonable suspicion that plaintiff was concealing weapons or other contraband based on a crime
            charged, the particular characteristics of the arrestee, and/or the circumstances of the arrest.

                           97. As a result of the foregoing,    plaintiff was deprived of his Constitutional rights
            and he sustained great emotional injuries.


                                                  NINTH CAUSE OF ACTION

                                                         f,'ailure to Intervene

                            98. The plaintiff repeats, reiterates and realleges each and every allegation
            contained in paragraphs marked I through 97 with the same force and effect as if more fully set
            forth at length herein.

                            99. The defendants that did not physically touch plaintiff, but were present when
            other officers violated plaintiffs Constitutional Rights had an affirmative duty to intervene on
            behalf of plaintiff whose constitutional rights were being violated in their presence by other
            officers.


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                          100.   Defendants failed to intervene to prevent the unlawful conduct described
         herein.

                          101. As a result of the foregoing, plaintiffs liberty was restricted for an
         extended period of time, he was put    in fear of his safety, and he was humiliated and subject to
         other physical constraints.

                          102.   As a direct and proximate result of such acts, defendants deprived plaintiff
         of his rights under the laws of the State of New York.

                          103.   Defendants were at all times agents, servants, and employees acting within
         the scope of their employment by the City of New York and the New York City Police
         Department, which are therefore responsible for their conduct.

                          104.The City, as the employer of the officer defendants, is responsible for their
         wrongdoing under the doctrine of respondeat superior.

                          105. As a result of the aforementioned conduct of           defendants, plaintiff
         sustained injuries, including but not limited to emotional and psychological injuries.

                                                TENTH CAUSE OF ACTION

                                        Municipal Liabilitv under 42 U.S.C. $ 1983
                          106.   The plaintiff repeats, reiterates and realleges each and every allegation
         contained in paragraphs marked 1 through 105 with the same force and effect as if more fully set
         forth at length herein.

                          107.   Defendants, collectively and individually, while acting under color of state
         law, engaged in conduct that constituted a custom, usage, practice, procedure or rule of
         defendant City of New York, which is forbidden by the Constitution of the United States.

                          108.   The aforementioned customs, policies, usages, practices, procedures and
         rules of defendant City of New York and the New York City Police Department included, but
         were not limited to, illegally stopping, questioning, searching, and arresting individuals without a
         specific, articulable factual basis supporting reasonable suspicion and/or probable cause that
         plaintiff committed a crime and fabricating allegations against an individual to justify the amount
         of force used during an arrest, as well as inadequate screening, hiring, retaining, training, and
         supervising its employees with respect to these issues.

                           109. The aforementioned customs, policies, usages, practices, procedures and
          rules of defendant City of New York and the New York City Police Department were the moving
          force behind the violation of plaintiff s rights as described herein. As a result of the failure of
          defendant City of New York and the New York City Police Department to properly recruit,
          screen, train, discipline, and supervise its officers, including the individual defendants, defendant



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         City of New York has tacitly authorized, ratified, and has been deliberately indifferent to, the
         acts and conduct complained of herein.

                          110.         The foregoing customs, policies, usages, practices, procedures and rules   of
         defendant City of New York and the New York City Police Department were the moving force
         behind the Constitutional violations suffered by plaintiff as alleged herein.

                          I   1   1.
                               The foregoing customsn policies, usages, practices, procedures and rules of
         defendant City of New York and the New York City Police Department were the direct and
         proximate cause of the constitutional violations suffered by plaintiff as alleged herein.

                          ll2. As a result of the foregoing customs,          policies, usages, practices,
         procedures and rules of the City of New York and the New York City Police Department,
         plaintiff was unlawfully stopped, questioned, searched and arrested.

                        113. Defendants collectively and individually, while acting under color of state
         law were directly and actively involved in violating plaintiffs constitutional rights.

                                                              JURY DEMAI\D

                          ll4.         Plaintiff hereby demands trial by jury of all issues properly triable thereby




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NYSCEF   DOC. NO. ]-                                                 RECETVED NYSCEF .: 04 / 02 /201-8




                                                      PRAYER FOR RELIEF'

                          WHEREFORE, plaintiff Lazar Khanulcay demands judgment against the
            defendants on each cause of action in amounts to be determined upon the trial of this action
            which exceeds the jurisdiction of lower courts, inclusive of punitive damages and attorneys' fees
            inclusive of costs and disbursements of this action, interest and such other relief as is appropriate
            under the law. That the plaintiff recover the cost of the suit herein, including reasonable
            attorney's fees pursuant to 42 U.S.C. $ 1988.

            Dated:         New York, New York
                            April2,2018



                                                          By:                     lsl
                                                                     STUART E. JACOBS
                                                                     DAVID M. HAZAN
                                                                     JACOBS & HAZAN, LLP
                                                                     Attorneys for Plaintiff
                                                                     30 Vesey Street,4th Floor
                                                                     New York, NY 10007
                                                                     (2r2) s77-26e0


            TO      City of New York, Corporation Counsel, 100 Church Street, NY, NY 10007
                    DETECTIVE PAUL RIVERA, Tax No. 940050, Narcotics Borough Manhattan South,
                    One Police Plaza,New York, NY 10038
                    SERGEANT VISAR MARKU, Tax No. 942126, Narcotics Borough Manhattan South,
                    One Police Plaza,New York,IIY 10038
                    Undercover Police Officer Shield No. 305, Narcotics Borough Manhattan South, One
                    Police Plaza,New York,1.[Y 10038




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NYSCEF DOC.   NO.   1.                                                                   RECETVED NYSCEF     : 04/   02 /201,8




                                             ATTORNEYIS VERIFICATION

                    STUART E. JACOBS,      an attomey duly admitted to practice before the Courts   of

         the State of New York, affirms the following to be fiue under the penalties of pe{ury:


                    I am a parfirer of the law firm of JACOBS & HAZAi\t, LLP, I have read the annexed
         VERIFIED COMPLAINT and know the contents thereof, and the same are true to my
         knowledge, except those matters therein which are stated to be alleged upon information and

         belief, and as to those matters I believe them to be true. My belief, as to those matters therein not

         stated upon knowledge, is based upon facts, records, and other pertinent information contained in

         my files. The reason this verification is made by me and not Plaintiff is because plaintiff does not

         reside in the county wherein I maintain my offtce.




         DATED: New York, New York
                    April2,2018




                                                                           ls/
                                                                 STUART E. JACOBS




                                                         -16-


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